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                       UNITED STATES DISTRICT COURT
6                     WESTERN DISTRICT OF WASHINGTON
                                AT SEATTLE
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     MAYTRONICS LTD.,                          CASE NO. 2:23-cv-1406
8
                         Plaintiff,            ORDER
9
            v.
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     CHASING INNOVATION
11   TECHNOLOGY CO. LTD. ET AL,

12                       Defendants.

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           This matter comes before the Court on the parties Stipulated Motion For
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     Extension of Time to Respond to Complaint, filed February 13, 2024. Dkt. No. 26.
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     The motion is GRANTED.
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           On February 1, 2024, the Court noted that “[m]otions to extend the time to
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     answer are unnecessary; the parties may agree to extend the time to answer
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     without Court approval.” Dkt. No. 25. The Court reiterates that the parties may
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     agree to an extension of time to answer or respond to the pleadings without Court
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     approval or a motion—otherwise, judicial resources are needlessly expended.
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           It is so ORDERED.
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     ORDER - 1
1         Dated this 16th day of February, 2024.



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3                                                  Jamal N. Whitehead
                                                   United States District Judge
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     ORDER - 2
